  Case 22-13621-CMG             Doc 19     Filed 07/20/22 Entered 07/20/22 14:32:09              Desc Main
                                          Document Page 1 of 2

  UNITED STATES BANKRUPTCY COURT
  District of New Jersey


  Albert Russo
  PO Box 4853                                                             Order Filed on July 20, 2022
  Trenton, NJ 08650                                                       by Clerk
  (609) 587-6888                                                          U.S. Bankruptcy Court
                                                                          District of New Jersey
  Standing Chapter 13 Trustee

  In re:
                                                           Case No.: 22-13621 / CMG

  Priscilla A. Stokes                                      Chapter: 13

                                                           Hearing Date: 07/20/2022

                                 Debtor(s)                 Judge: Christine M. Gravelle




    CHAPTER 13 STANDING TRUSTEE PRE-CONFIRMATION ORDER OF DISMISSAL


           The relief set forth on the following page is ORDERED.




DATED: July 20, 2022




                                                   Page 1 of 2                                           rev. 5/8/17
Case 22-13621-CMG        Doc 19     Filed 07/20/22 Entered 07/20/22 14:32:09              Desc Main
                                   Document Page 2 of 2



   The Court having determined that dismissal of this case is appropriate, it is hereby

   ORDERED that the debtor's case is dismissed for:

       •   failure to provide required documents to the Trustee prior to the 341(a) meeting, resulting
           in the meeting not being held
       •   failure to make all required pre-confirmation payments to the Trustee
       •   lack of prosecution

   and it is further

   ORDERED that:

   Pursuant to 11 U.S.C. § 349(b), this court for cause retains jurisdiction over any application filed
   within 14 days of the date of this order by any administrative claimant for funds on hand with the
   Chapter 13 Standing Trustee.

   Any funds held by the Chapter 13 Standing Trustee from payments made on account of the
   debtor's plan shall be disbursed to the debtor, less any applicable trustee fees and commissions ,
   payments ordered for attorney fees, or any adequate protection payments due under the proposed
   plan, or by Court order.

   Any Order to Employer to Pay the Chapter 13 Trustee that has been entered in this case is
   vacated, and the employer is ordered to cease wage withholding immediately.

   All outstanding fees due to the Court are due and owing and must be paid within 7 days of the
   date of this order.




                                           Page 2 of 2                                        rev. 5/8/17
